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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION

 LEMOYNE-OWEN COLLEGE FACULTY                     )
 ORGANIZATION,                                    )
       Plaintiff,                                 )
                                                  )
 v.                                                          No. 2:19-cv-02424-SHL-jay
                                                  )
                                                  )
 LEMOYNE-OWEN COLLEGE and BOARD
                                                  )
 OF TRUSTEES,
                                                  )
         Defendants.                              )

                                      ORDER TO SHOW CAUSE


       Before the Court is Defendants’ Motion to Dismiss for Failure to State a Claim, filed

July 10, 2019. (ECF No. 8.) Pursuant to the Local Rules, Plaintiff had until July 24, 2019, to

file a Response, but no such filing has been forthcoming. See LR 7.2(a)(2), 12.1(b).

       Plaintiff is ORDERED TO SHOW CAUSE within fourteen (14) days of entry of this

Order why Defendants’ Motion should not be granted. Failure to timely respond will result in

dismissal for failure to prosecute.

       IT IS SO ORDERED, this 3rd day of September, 2019.

                                            s/ Sheryl H. Lipman
                                            SHERYL H. LIPMAN
                                            UNITED STATES DISTRICT JUDGE
